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 12   (Additional counsel information omitted)
 13
 14
 15                         UNITED STATES DISTRICT COURT

 16                       CENTRAL DISTRICT OF CALIFORNIA

 17
       ENTROPIC COMMUNICATIONS,                   Lead Case No. 2:23-cv-01043-JWH-KES
 18    LLC,
                                                   Consolidated with Case Nos.:
 19                Plaintiff,                       2:23-CV-01047-JWH-KES
                                                    2:23-CV-01048-JWH-KES
 20          v.                                     2:23-CV-05253-JWH-KES
 21    DIRECTV, LLC; AT&T, INC.;
       AT&T SERVICES, INC.; AND                   Assigned to Hon. John W. Holcomb
 22    AT&T COMMUNICATIONS, LLC
                                                  DIRECTV’S NOTICE OF MOTION
 23                Defendants.                    AND RULE 12(b)(6) MOTION TO
                                                  DISMISS UNDER 35 U.S.C. § 101
 24
                                                  Date: December 15, 2023
 25                                               Time: 9:00AM
                                                  Courtroom: 9D
 26
 27
 28

                    DIRECTV’S MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(B)(6)
                                  CASE NO. 2:23-CV-01043-JWH-KESX
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  1                 NOTICE OF MOTION AND MOTION TO DISMISS
  2         PLEASE TAKE NOTICE that on December 15, 2023, or as soon as this matter
  3   may be heard in Courtroom 9D before the Honorable John W. Holcomb, of the above-
  4   entitled Court located at 411 W. 4th Street, Santa Ana, California 92701, defendants
  5   DIRECTV, LLC and AT&T Services, Inc. (collectively “DIRECTV”) hereby do move
  6   to dismiss Counts I, III, IV, VI through X, and XII with prejudice because the asserted
  7   patents identified in those counts are invalid as a matter of law under 35 U.S.C. § 101
  8   for claiming patent ineligible subject matter. DIRECTV joins and incorporates by
  9   reference the motion (Dkts. 50, 60, 75) and Order (Dkt. 103) invalidating U.S. Patent
 10   Nos. 10,257,566 (the “’7566 Patent”) and 8,228,910 (the “’910 Patent”) in Entropic
 11   Commcn’s, LLC v. DISH Network Corp., Case No. 2:23-cv-1043-JWH-KES, Dkt. 103
 12   (C.D. Cal. Sept. 6, 2023). With respect to U.S. Patent Nos. 9,838,213 (the “’213
 13   Patent”) (Count VIII) and 10,432,422 (the “’422 Patent”) (Count IX), DIRECTV joins
 14   and incorporates by reference the pending motion and related briefing in Entropic
 15   Commcn’s, LLC v. Cox Commcn’s, Inc. arguing that these patents are invalid for
 16   claiming ineligible subject matter under § 101. Case No. 2:23-cv-1047-JWH-KES,
 17   Dkts. 64, 69 (C.D. Cal. June 16, 2023) (motion to dismiss ’213 and ’422 Patents under
 18   § 101).
 19         This motion is made pursuant to Fed. R. Civ. P. 12(b)(6) and the Local Rules
 20   applicable thereto.1 This motion is based on this notice of motion and motion, the
 21   accompanying memorandum of points and authorities, the pleadings on file in this
 22   action, the Declaration of David S. Frist, the motion to dismiss briefing filed by DISH
 23   in Entropic Commcn’s, LLC v. DISH Network Corp.., Case No. 2:23-cv-1043-JWH-
 24   KES (Dkts. 50, 60, 75) and the motion on the pleadings briefing filed by Cox in Entropic
 25   Commcn’s, LLC v. Cox Commcn’s, Inc., Case No. 2:23-cv-1047-JWH-KES (C.D. Cal.
 26
 27   1
        Defendants again move to dismiss jointly, consistent with the Court’s prior order
      allowing a joint motion to dismiss of no more than 35 pages (ECF No. 41 in the
 28   DIRECTV case pre-consolidation, Case No. 2:23-cv-05253-JWH-KES).

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  1   June 16, 2023) (Dkts. 64, 69), and on such other written or oral argument or evidence
  2   as may be presented at or before the time this motion is taken under submission.
  3         This motion is made following the conference of counsel pursuant to L.R. 7-3
  4   which took place on October 25, 2023.
  5
  6
      Dated: November 1, 2023          DAVID S. FRIST
  7                                    YURI MIKULKA
                                       RACHEL E. K. LOWE
  8                                    ALSTON & BIRD LLP
  9                                    By:    /s/ David S. Frist
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 10
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                                              INC.
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 12
 13
                           UNITED STATES DISTRICT COURT
 14                       CENTRAL DISTRICT OF CALIFORNIA
 15
       ENTROPIC COMMUNICATIONS,                  Lead Case No. 2:23-cv-01043-JWH-KES
 16    LLC,
                                                   Consolidated with Case Nos.:
 17                Plaintiff,                       2:23-CV-01047-JWH-KES
                                                    2:23-CV-01048-JWH-KES
 18          v.                                     2:23-CV-05253-JWH-KES
 19    DIRECTV, LLC; AT&T, INC.;
       AT&T SERVICES, INC.; AND                  Assigned to Hon. John W. Holcomb
 20    AT&T COMMUNICATIONS, LLC
                                                 MEMORANDUM OF POINTS AND
 21                Defendants.                   AUTHORITIES IN SUPPORT OF
                                                 DIRECTV’S RULE 12(b)(6) MOTION
 22                                              TO DISMISS UNDER 35 U.S.C. § 101
 23                                              Date: December 15, 2023
                                                 Time: 9:00AM
 24                                              Courtroom: 9D
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  1   I.    INTRODUCTION
  2         Plaintiff Entropic Communications, LLC (“Plaintiff” or “Entropic”) alleges that
  3   DIRECTV, LLC and AT&T Services, Inc. (collectively “DIRECTV”) infringe 12
  4   patents that Entropic contends are essential to the Multimedia over Coax Alliance
  5   (“MoCA”) standard. A prior owner of the patents-in-suit (Entropic Communications,
  6   Inc.) was involved in MoCA standardization and made promises to license its patents
  7   on reasonable and non-discriminatory terms, but Plaintiff Entropic is now using this
  8   lawsuit to seek astronomically high royalties from DIRECTV for its MoCA products.
  9         Contrary to Plaintiff Entropic’s story of innovation, the MoCA standard simply
 10   applies well-known network communication principles to communication over coaxial
 11   cables. Thus, while Entropic touts the overall benefits of the MoCA standard, it is
 12   important to look at each patent and identify the alleged problem the patent addressed
 13   and how it solved that problem.
 14         When analyzed individually, it becomes clear that a disproportionate number of
 15   them claim ineligible subject matter. While the proposed problem and solution
 16   described in the specification of each patent are framed in the context of MoCA, the
 17   focus of the claims is an abstract idea. While, in some cases, the asserted patents take
 18   an abstract idea from conventional networking and apply it to a coaxial network, the
 19   Federal Circuit has made clear that simply applying an abstract idea to the use of
 20   conventional or generic technology, particularly in a well-known environment (such as
 21   a cable network), without more is insufficient to confer patentability. Use of coaxial
 22   cables in a communications network was prevalent prior to the filing of the asserted
 23   patents, and thus the claims must be directed to an inventive concept that transforms the
 24   claims beyond mere abstract ideas.
 25         After DIRECTV filed a motion to dismiss the original complaint, Entropic filed
 26   an amended complaint to inject further allegations in an attempt to support its
 27   forthcoming opposition. These specific allegations are woefully deficient. Instead of
 28   articulating facts, Entropic’s allegations are merely conclusory statements regarding

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                     DIRECTV’S MOTION TO DISMISS PURSUANT TO FED. R. CIV. P.12(B)(6)
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 1   what was or was not well-understood, routine, or conventional at the time the patent
 2   applications were filed. The Federal Circuit has made clear that such conclusory
 3   allegations are insufficient to defeat a motion to dismiss under 35 U.S.C. § 101.
 4   Entropic cannot identify a transformative inventive concept, and the patents challenged
 5   herein are invalid under 35 U.S.C. § 101.
 6         This Court should thus dismiss Counts I, III, IV, VI through X, and XII of
 7   Entropic’s First Amended Complaint because the asserted patents claim patent
 8   ineligible abstract ideas.
 9   II.   FACTUAL BACKGROUND AND CHALLENGED PATENTS
10         Entropic filed the present case against DIRECTV, alleging infringement of 12
11   patents. Motions to dismiss based on subject matter eligibility under 35 U.S.C. § 101
12   have been filed on four of these patents, two of which were granted and two of which
13   remain pending. Entropic Commcn’s, LLC v. DISH Network Corp., Case No. 2:23-cv-
14   1043-JWH-KES, Dkt. 103 (C.D. Cal. Sept. 6, 2023) (hereinafter “DISH Order”)
15   (finding U.S. Patent Nos. 10,257,566 (the “’7566 Patent”) and 8,228,910 (the “’910
16   Patent”) ineligible under § 101, and dismissing infringement claims with prejudice);
17   Entropic Commcn’s, LLC v. Cox Commcn’s, Inc., Case No. 2:23-cv-1047-JWH-KES,
18   Dkt. 64 (C.D. Cal. June 16, 2023) (pending motion to dismiss U.S. Patent Nos.
19   9,838,213 (the “’213 Patent”) and 10,432,422 (the “’422 Patent”)).
20         DIRECTV filed a motion to dismiss Counts VI and VIII–X corresponding to the
21   ’7566 and ’910 Patents and the ’213 and ’422 Patents as well as five additional patents:
22   U.S Patent Nos. 8,363,681 (the “’681 Patent”), 7,889,759 (the “’759 Patent”), 7,295,518
23   (the “’518 Patent”), 8,621,539 (the “’539 Patent”), and 8,085,802 (the “’802 Patent”).
24   Case No. 2:23-cv-05253-JEW-KES, Dkt. 45.
25         Entropic subsequently filed an Amended Complaint (Dkt. 135), asserting the
26   same 12 patents but adding additional allegations in an attempt to address DIRECTV’s
27   Motion. Dkt. 135. DIRECTV again moves to dismiss the ’681 Patent, the ’759 Patent,
28

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                    DIRECTV’S MOTION TO DISMISS PURSUANT TO FED. R. CIV. P.12(B)(6)
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 1   the ’518 Patent, the ’539 Patent, and the ’802 Patent.2 In addition to the grounds
 2   asserted below, DIRECTV formally joins in and incorporates herein the motions to
 3   dismiss filed in the prior cases as to other patents. DISH Network, Dkts. 50, 60, 75; Cox
 4   Commc’ns, Dkts. 64, 69.
 5   III.   APPLICABLE LAW
 6          The Supreme Court has set forth a two-part test for determining patent
 7   ineligibility: “(1) it is ‘directed to’ a patent ineligible concept, i.e., a law of nature,
 8   natural phenomenon, or abstract idea, and (2), if so, the particular elements of the claim,
 9   considered ‘both individually and as an ordered combination,’ do not add enough to
10   ‘transform the nature of the claim’ into a patent-eligible application.’” Elec. Power
11   Grp., LLC v. Alstom S.A., 830 F.3d 1350, 1353 (Fed. Cir. 2016) (quoting Alice Corp.
12   Pty. Ltd. v. CLS Bank Int’l, 573 U.S. 208, 217 (2014)). In performing this second step,
13   a court must “search for an ‘inventive concept’—i.e., an element or combination of
14   elements that is ‘sufficient to ensure that the patent in practice amounts to significantly
15   more than a patent upon the [ineligible concept] itself.’” Alice, 573 U.S. at 217-18
16   (citation omitted). “Ultimately, [t]he § 101 inquiry must focus on the language of the
17   Asserted Claims themselves, and the specification cannot be used to import details from
18   the specification if those details are not claimed.” ChargePoint, Inc. v. SemaConnect,
19   920 F.3d 759, 769 (Fed. Cir. 2019) (quotations omitted). The Federal Circuit has
20   “repeatedly recognized that in many cases it is possible and proper to determine patent
21   eligibility under 35 U.S.C. § 101 on a Rule 12(b)(6) motion.” Genetic Techs. Ltd. v.
22   Merial L.L.C., 818 F.3d 1369, 1373-74 (Fed. Cir. 2016).
23   IV.    ARGUMENT
24          A.    The ’681 Patent Claims of Count XII Are Patent Ineligible
25   2
       This motion thus does not attack all of the asserted patents. Instead, it addresses the
26   patents that are most amenable to invalidation at the Rule 12 stage (without the need for
     evidence beyond the pleadings and judicial notice) that have not already been raised by
27   another defendant. DIRECTV reserves the right later to challenge patents that may
     require more of an evidentiary record, and their omission here should not be construed
28
     as a waiver of §101 grounds.
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                    DIRECTV’S MOTION TO DISMISS PURSUANT TO FED. R. CIV. P.12(B)(6)
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 1         The ’681 Patent is titled “Method and apparatus for using ranging measurements
 2   in a multimedia home network.” Entropic dubbed it the “Clock Synch Patent” (Dkt. 13,
 3   ¶ 5), and alleges that it “is generally directed to, inter alia, improving local clock time
 4   synchronization between a plurality of nodes in a communication network.” Dkt. 135,
 5   ¶ 635. DIRECTV agrees that the ’681 Patent is directed to synchronizing clock times.
 6   But that is precisely the problem. Synchronizing time is an abstract idea, and the claims
 7   do not contain an inventive concept sufficient to transform it into patentable subject
 8   matter. Alice, 573 U.S. at 225-26. The ’681 Patent is directed to patent ineligible
 9   subject matter.
10                1.       ’681 Patent’s Time Synchronization Method
11         Problem and Purported Solution. The ’681 Patent attempts to describe the
12   problems facing the industry by describing the formation of the Multimedia over Coax
13   Alliance (“MoCA”) and the first release of the MoCA standard. ’681 Patent, 1:58-2:3.
14   The ’681 Patent discloses that a MoCA network typically includes multiple client
15   nodes, and that one of the nodes is selected as a network coordinator (“NC”), which is
16   responsible for scheduling traffic on the network. Id., 2:27-32. The ’681 Patent
17   acknowledges that these nodes could be any type of device capable of communicating
18   on a network, such as a TV, set top box, or a computer. Id. The ’681 Patent then
19   describes that, “[i]n order to facilitate the scheduling, the NC and each node in the
20   network maintains a local channel time clock (CTC) counter and all nodes are
21   responsible for synchronizing their CTC counts to that of the NC.” Id., 2:44-47. The
22   problem identified by the ’681 Patent is the introduction of inaccuracies to the channel
23   time clock in a network. Id., 3:1-14.
24         While the ’681 Patent presents the problem in the context of MoCA, the
25   purported invention and proposed solution is not so limited. Instead, the ’681 Patent
26   proposes to “use[] ranging to improve network efficiency . . . [by] improv[ing] local
27
     3
      All references to Dkt. 1 are to the Original Complaint filed in Case No. -05253 before
28
     consolidation.
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                       DIRECTV’S MOTION TO DISMISS PURSUANT TO FED. R. CIV. P.12(B)(6)
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 1   clock time synchronization” without limiting the purported invention to any type of
 2   network or architecture. Id., 3:55-58. The ’681 Patent expressly states that the “claimed
 3   invention is not restricted to the illustrated example architectures or configurations, but
 4   the desired features can be Implemented using a variety of alternative architectures and
 5   configurations.” Id., 11:23-30. The ’681 Patent even concedes that it would be readily
 6   apparent how to implement the proposed solution in any functional, logical, or physical
 7   configuration. Id. (“[I]t will be apparent to one of skill in the art how alternative
 8   functional, logical or physical partitioning and configurations can be implemented to
 9   implement the desired features.”) (emphasis added). Thus, the ’681 Patent is directed
10   to improving clock time synchronization using any implementation that employs the
11   concept of ranging.
12         Claim 1 of the ’681 Patent is representative. Entropic asserts Claims 1-3 and
13   6-10 of the ’681 Patent.4 Claim 1, the only asserted independent claim, recites:
14
           1.   A method for synchronizing a plurality of nodes on a communication
15         network, comprising:
16         exchanging a local clock time between a first node and a second node over the
17         communication network, wherein the exchange comprises:

18                transmitting a first packet from the first node to the second node, wherein
                  the first packet includes a first packet clock time set to the local clock time
19
                  of the first node at transmission time, and includes a scheduled arrival
20                clock time, and
21                setting the local clock time of the second node to the first packet clock
22                time;

23         performing a ranging method between the first and second nodes based on the
           local clock time exchanged, wherein the ranging method results in an estimated
24
           propagation delay between the first and second node, and wherein the ranging
25         method comprises:
26
27
     4
      Entropic’s Disclosure of Asserted Claims and Infringement Contentions is attached as
28
     Exhibit 6.
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 1                transmitting a second packet from the second node to the first node,
 2                wherein the second packet is transmitted from the second node at the
                  scheduled arrival clock time, and wherein the second packet is received by
 3                the first node at an actual arrival clock time,
 4
                  calculating and storing the estimated propagation delay at the first node,
 5                wherein calculating the estimated propagation delay is based on the
                  scheduled arrival clock time and the actual arrival time, and
 6

 7                transmitting a third packet from the first node to the second node, wherein
                  the third packet comprises the estimated propagation delay; and
 8
           adjusting the local clock time of either the first or second node based on the
 9
           estimated propagation delay, thereby resulting in a synchronized local clock time
10         between the first and second node.
11         Certain dependent claims are directed to exemplary contexts in which the claimed
12   steps can be used, such as: (i) having the “first node” be “a network coordinator” (claim
13   6); (ii) performing the steps as part of an admission to the network (claim 7); (iii)
14   performing the claimed steps periodically (claim 8); (iv) where the communication
15   network is a mesh network (claim 9); and (v) “having the communication network
16   operate in accordance with a Multimedia over Coax Alliance (MoCA) standard” (claim
17   10). As these claims only provide exemplary contexts for performing the method, these
18   dependent claims do not alter the overall focus or character of the claims as a whole.
19         Other dependent claims add steps to the claimed method, but the additional steps
20   similarly do not alter the focus of the claims. For example, certain claims require storing
21   the estimated propagation delay (claim 3) while others require “using the synchronized
22   local clock time in subsequent packet transmission” (claim 2). The focus of the claims,
23   even with these additions, is synchronizing clock times.
24         The dependent claims do not add limitations that alter the ineligibility analysis.
25   Claim 1 is thus representative for purposes of patent ineligibility.             See Content
26   Extraction & Transmission LLC v. Wells Fargo Bank, Nat’l Ass’n, 776 F.3d 1343, 1348
27   (Fed. Cir. 2014).
28

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 1                2.       Alice Step 1: Focus of ’681 Patent Claims Is an Abstract Idea
 2         The claims of the ’681 Patent fail the first step of the Alice inquiry because the
 3   focus of the claims and their character as a whole is directed to the abstract concept of
 4   synchronizing local clock times. See SAP Am., Inc. v. InvestPic, LLC, 898 F.3d 1161,
 5   1167 (Fed. Cir. 2018); Implicit, LLC v. Ziff Davis, Inc., No. 2:22-cv-09453-AB-AFMx,
 6   2023 WL 4366351, at *3 (C.D. Cal. July 3, 2023) (claims directed to concepts of data
 7   synchronization are abstract).
 8         The claims of the ’681 Patent recite steps of (i) transmitting from a first node to
 9   a second node two pieces of information (a local clock time and a scheduled time for a
10   response); (ii) setting a clock in the second node to the local clock time; (iii) transmitting
11   a packet from the second node back to the first node at the scheduled time; (iv)
12   calculating and storing a delay at the first node using the scheduled time; (v) informing
13   the second node of the delay; and (vi) adjusting the local clock time at one node to
14   improve the synchronization between the nodes.
15         While these steps include the steps of transmitting information, calculating a
16   delay, and setting a clock, the claims are silent as to (1) how to transmit the identified
17   packets; (2) how to “calculate the propagation delay;” and (3) how to “adjust[] the local
18   clock time” to achieve “a synchronized local clock time.” The claims are “directed to
19   a function, instead of ‘a particular way of performing that function.’” See DISH Order
20   at 15 (quoting Affinity Labs of Tex., LLC v. DIRECTV, LLC, 838 F.3d 1253, 1258-59
21   (Fed. Cir. 2016)).
22         To the extent Entropic argues that the inventive steps relate to the transmission
23   of clock times and analysis of the delay, this Court has recognized that “patents that are
24   directed to transmitting and receiving information generally fail Alice Step One.” DISH
25   Order at 9; see also Maxell, Ltd. v. VIZIO, Inc., 2023 WL 3431898, at *7 (C.D. Cal.
26   Apr. 19, 2023) (“It is well established that transmitting and receiving data is an abstract
27   idea.”); Dropbox, Inc. v. Synchronoss Techs., Inc., 815 F. App’x. 529, 537 (Fed. Cir.
28   2020) (finding claims directed to “‘[f]ormatting’ data, ‘transmitting’ data, and

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 1   ‘retrieving’ data” abstract); Affinity Labs, 838 F.3d at 1261 (finding claims directed to
 2   “the conveyance and manipulation of information” abstract).
 3            Therefore, the focus of the claims is an improved time synchronization, not an
 4   improved communications network. The breadth of this abstract idea is illustrated by
 5   the fact that the steps could be performed by a human using pen and paper. The Federal
 6   Circuit has made clear that it “treat[s] analyzing information by steps people [could] go
 7   through in their minds, or by mathematical algorithms, without more, as essentially
 8   mental processes within the abstract-idea category.” Elec. Power Grp., 830 F.3d at
 9   1354; see also Implicit, 2023 WL 4366351, at *3 (claims directed to synchronizing data
10   could be performed “mentally or using a pen and paper”).
11            For example, the need for clock synchronization between disparate nodes has
12   been known for well over a century. During the railway age of the 1800s the variations
13   in local clock times were a documented issue, resulting in a variety of efforts and
14   techniques to “synchronize” the time between disparate train stations.5 Station masters
15   relied on charts reflecting the differences in local clock times to create synchronized
16   schedules for train travel. The ’681 Patent is so broad as to in fact preempt the use of
17   the claimed synchronization techniques in that context:
18              Claim 1 of the ’681 Patent                  Keeping the Trains on Time
19       A method for synchronizing a plurality of    Sending messages between train stations
         nodes on a communication network,            to synchronize time.
20       comprising:
21       exchanging a local clock time between a      A messenger at a first station carries a
         first node and a second node over the        note from the train master on a departing
22       communication network, wherein the           train reading “The train departed at 8 am.
         exchange comprises: transmitting a first     I expect a return message at 10 am.”
23       packet from the first node to the second
         node, wherein the first packet includes a
24       first packet clock time set to the local
         clock time of the first node at
25       transmission time, and includes a
         scheduled arrival clock time, and;
26
27
     5
       https://www.trains.com/trn/railroads/history/how-railroads-standardized-time-in-the-
28
     us/
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 1            Claim 1 of the ’681 Patent                 Keeping the Trains on Time
 2    Setting the local clock time of the second Upon receipt of the note from the
      node to the first packet clock time          messenger, a train master at a second
 3                                                 station sets his clock time to 8 am.
      Performing a ranging method between the The messenger waits at the second station
 4    first and second nodes based on the local and then boards a train back to the first
      clock time exchanged, wherein the station at 10 am.
 5    ranging method results in an estimated
      propagation delay between the first and
 6    second node, and wherein the ranging
      method comprises: transmitting a second
 7    packet from the second node to the first
      node, wherein the second packet is
 8    transmitted from the second node at the
      scheduled arrival clock time,
 9
      and wherein the second packet is received The messenger arrives back at the first
10    by the first node at an actual arrival clock station at an actual arrival time.
      time
11    calculating and storing the estimated The train master at the first station
12
      propagation delay at the first node, calculates delay using the 10 am
      wherein calculating the estimated scheduled arrival time of the return
13
      propagation delay is based on the message and the actual arrival time. The
      scheduled arrival clock time and the train master notes the delay.
14
      actual arrival time, and
      transmitting a third packet from the first The messenger then returns to the train
15    node to the second node, wherein the third master at the second station with a
      packet      comprises     the     estimated message indicating the estimated delay.
16    propagation delay; and
17    adjusting the local clock time of either the One of the train masters adjusts the clock
      first or second node based on the time at their train station to reflect the
18    estimated propagation delay, thereby delay.
      resulting in a synchronized local clock
19    time between the first and second node.

20         Trains, postal, or telegraph systems can be used in “communication network[s]”,
21   stations can be nodes, and there is nothing in the claims of the ’681 Patent that is a
22   particular technical improvement, or even a particular type of communication network.
23   This is a ridiculous result, showing the breadth of preemption risked by Plaintiff’s patent
24   on this abstract idea. See, e.g., Ariosa Diagnostics, Inc. v. Sequenom, Inc., 788 F.3d
25   1371, 1379 (Fed. Cir. 2015) (“[P]reemption may signal patent ineligible subject
26   matter.”).
27                3.       Alice Step 2: ’681 Patent Claims Lack an Inventive Concept
28         The claims of the ’681 Patent cannot survive the second step of the Alice inquiry

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 1   because they do not include “an inventive concept sufficient to transform the claimed
 2   abstract idea into a patent-eligible invention.” Yu v. Apple Inc., 1 F.4th 1040, 1045
 3   (Fed. Cir. 2021), cert. denied, 142 S. Ct. 1113 (2022). The claims of the ’681 Patent,
 4   at most, rely on generic computer equipment to perform the claimed abstract idea of
 5   clock synchronization. Elec. Commc’n Techs., LLC v. ShoppersChoice.com, LLC, 958
 6   F.3d 1178, 1183 (Fed. Cir. 2020) (use of conventional components does not provide an
 7   inventive concept). The claimed steps are performed using a variety of generic elements
 8   such as “nodes” and a “communication network.” However, as described earlier, the
 9   ’681 Patent is directed to any architecture and configuration and any “functional, logical
10   or physical partitioning” and the claims do not provide any specific hardware,
11   architecture, or configuration.
12         The claims’ reference to a communication network also does not transform the
13   focus of the claims. Courts have held that a “telecommunications system” is nothing
14   more than a generic component, insufficient to serve as an inventive concept. See, e.g.,
15   British Telecomms. PLC v. IAC/InterActiveCorp, 381 F. Supp. 3d 293, 314 (D. Del.
16   2019), aff’d, 813 F. App’x 584, 587 (Fed. Cir. 2020). Similarly, use of “generic, ‘off
17   the shelf’” “communication unit[s]” and “control unit[s]” such as televisions and
18   phones was insufficient to supply an inventive concept to claims directed to sending
19   information. Maxell, 2023 WL 3431898, at *5. Like in Maxell, the ’681 Patent
20   specification explains that the “nodes” could be generic components such as “TV’s”
21   “set top boxes” and “computers.” ’681 Patent, 2:27-28. Applying the abstract idea of
22   synchronizing clocks to the clocks inside of generic “nodes,” and completing that
23   process using any “communication network,” is insufficient to provide an inventive
24   concept. Similarly, use of generic “computer executable program code” or instructions
25   in certain independent claims is irrelevant to the ineligibility analysis. See, e.g., ’681
26   Patent, cls. 11, 31; see also Ficep Corp. v. Peddinghaus Corp., No. 2022-1590, 2023
27   WL 5346043, at *6 (Fed. Cir. Aug. 21, 2023) (finding claims reciting “a programmable
28   logic controller, a receiver, a database unit” lacked an inventive concept).

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 1         The conclusory allegations in the Amended Complaint that each of the elements
 2   of claim 1 were not “routine, conventional, or well-known” (Dkt. 135, ¶¶ 192-95) are
 3   not entitled to any weight and cannot rewrite the express disclosure in the ’681 Patent
 4   that the purported invention can be performed with any hardware or software.
 5   Sanderling Mgmt. Ltd. v. Snap Inc., 65 F.4th 698, 706 (Fed. Cir. 2023) (finding that a
 6   district court is not required to credit conclusory statements regarding whether the
 7   claimed steps were well-known, routine, and conventional in the context of a motion to
 8   dismiss); see also Trinity Info Media, LLC, v. Covalent, Inc., 72 F.4th 1355, 1366 (Fed.
 9   Cir. 2023 (holding that “conclusory allegations that the prior art lacked elements of the
10   asserted claims are insufficient to demonstrate an inventive concept.”). Entropic’s
11   allegations regarding the alleged improvements to coaxial networks are also irrelevant
12   because the ’681 Patent is not limited to a conventional coaxial network. Instead, the
13   ’681 Patent is directed to any communication network. The generic communication
14   components of the ’681 Patent fail to provide an inventive concept, and thus the claims
15   are ineligible under 35 U.S.C. § 101.
16         B.     The ’759 Patent Claims of Count III Are Patent Ineligible
17         According to Entropic, the ’759 Patent enables “establishing a common
18   modulation scheme” in a network. Dkt. 135, ¶ 320. The claimed determination of a
19   common modulation scheme is the type of idea that courts have long held to be abstract,
20   and the claims, which merely require transmitting and analyzing information to
21   facilitate the determination, do not contain a transformative inventive concept. Thus,
22   the claims of the ’759 Patent are directed to patent ineligible subject matter.
23                1.       ’759 Patent’s Bit Loading Modulation Scheme Determination
24         Problem and Purported Solution. The ’759 Patent identifies a need for “a
25   system and method to connect a variety of CPEs into a local network . . . while allowing
26   the utilization of an existing coaxial cable network within the building.” ’759 Patent,
27   3:66-4:3. The ’759 Patent describes that “[i]t is appreciated by those skilled in the art
28   that the different channels typically utilize different bit-loading modulation schemes

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 1   because the channels are physically and electrically different in the cable network.” Id.,
 2   7:5-8.
 3            Bit loading is a technique that was commonly used prior to the ’759 Patent. ’518
 4   Patent, 4:57-62, 8:9-1’759 Patent, 7:12-18 (incorporating by reference the description
 5   of bit loading in the application that led to the ’518 Patent). The ’759 Patent explains
 6   that “[b]it-loading is the process of optimizing the bit distribution to each of the
 7   channels to increase throughput.” ’759 Patent, 7:12-18. The ’759 Patent discloses that
 8   the bit-loading modulation scheme can be selected based on transmission characteristics
 9   of the channel, and skilled artisans would have appreciated that a channel’s transmission
10   characteristics may be determined by measuring the signal-to-noise ratio (“SNR”), bit-
11   error rate (“BER”), and/or packet error rate (“PER”) values of a signal received at a
12   receiving node. Id., 11:5-14.
13            The ’759 Patent is not directed to the process of using a bit-loading modulation
14   schemes in a network or to the hardware or algorithms to implement bit-loading
15   modulation. Instead, the ’759 Patent’s proposed solution is to “determin[e] a common
16   bit-loading modulation scheme for communicating between a plurality of nodes in the
17   BCN.” Id., 4:7-9; 6:63-67. Thus, the focus of the ’759 Patent is on how to select or
18   determine which bit-loading modulation scheme to use.
19            Claim 2 is representative. The claims of the ’759 Patent generally require the
20   steps of: (1) transmitting a probe signal, (2) receiving response signals containing bit-
21   loading modulation schemes; (3) comparing the signals; and (4) “determining” a
22   common bit-loading modulation scheme. Entropic asserts claims 1-3. Claim 2 recites:
23            2.   A method for determining a common bit-loading modulation scheme for
              communicating between a plurality of nodes in a broadband cable network
24
              (“BCN”), the method comprising:
25
              transmitting a probe signal from a transmitting node within the plurality of nodes
26            to a sub-plurality of receiving nodes within the plurality of nodes;
27

28

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 1         receiving a plurality of response signals from the sub-plurality of receiving nodes
 2         wherein each response signal includes a bit-loading modulation scheme
           determined by a corresponding receiving node;
 3
           determining the common bit-loading modulation scheme from the received
 4
           plurality of response signals;
 5
           receiving the probe signal at one receiving node of the plurality of receiving
 6         nodes through a channel path of transmission;
 7
           determining the transmission characteristics of the channel path at the one
 8         receiving node;
 9         transmitting a response signal from the one receiving node to the transmitting
           node, wherein the transmission characteristics of the channel path are determined
10
           by measuring the bit-error rate (“BER”) characteristics of the received probe
11         signal at the one receiving node and
12         generating the response signal, wherein the response signal utilizes a bit-loading
           modulation scheme that is generated by the one receiving node in response to
13         determining the transmission characteristics of the channel path,
14         wherein determining a common bit-loading modulation scheme includes:
15                comparing a plurality of bit-loading modulation schemes from the
16
                  corresponding received plurality of response signals; and
                  determining the common bit-loading modulation scheme in response to
17
                  comparing the plurality of bit-loaded modulation schemes.
18
     Claims 1 and 3 differ only in the characteristic of the received probe signal measured
19
     (i.e., signal-to-noise ratio and packet error rate rather than BER). Accordingly, claim 2
20
     is representative claim for purposes of the patent ineligibility analysis.
21
                  2.       Alice Step 1: Focus of ’759 Patent Claims Is an Abstract Idea
22
           The claims of the ’759 Patent fail the first step of the Alice inquiry because the
23
     focus of the claims and their character as a whole is directed to the abstract idea of
24
     analyzing and comparing data and determining a common bit-loading modulation
25
     scheme. This claimed process falls squarely within the types of claims directed to
26
     analyzing and comparing data that courts have repeatedly invalidated. See, e.g., Elec.
27
     Power Grp., 803 F.3d at 1353 (“collecting information, analyzing it, and displaying
28

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 1   certain results of the collection and analysis” determined to be abstract ideas);
 2   Berkheimer v. HP Inc., 881 F.3d 1360, 1366 (Fed. Cir. 2018) (“parsing,” “comparing,”
 3   “storing,” and “editing data” was an abstract idea); Trinity Info Media, LLC v. Covalent,
 4   Inc., 562 F. Supp. 3d 770 (C.D. Cal. 2021) (Holcomb, J.) (“[T]he Federal Circuit has
 5   found that analyzing and comparing data . . . is also an abstract idea.”) (citation omitted),
 6   aff’d, 72 F.4th 1355 (Fed. Cir. 2023).
 7         Again, as described above, the ’759 Patent is not directed the process of using a
 8   bit-loading modulation scheme or unique implementation of a modulation scheme. The
 9   focus is only selecting or determining which scheme to use, which is nothing more than
10   a mental process: comparing two or more profiles to “determine” a common one. See,
11   e.g., Elec. Power Grp., 830 F.3d at 1355 (“But merely selecting information, by content
12   or source, for collection, analysis, and display does nothing significant to differentiate
13   a process from ordinary mental processes.”) (citation omitted).
14         Indeed, this Court found similar claims to be directed to a mental process in
15   Trinity Info Media. In that case, the Court concluded that each limitation of a claim
16   directed to a poll-based networking system performing the following steps, in relevant
17   part, was directed to a mental process: (1) providing a user a first polling question; (2)
18   receiving and storing a selected answer for the question; (3) comparing the answer with
19   those of other users; and (4) displaying user profiles that match. Trinity Info Media,
20   562 F. Supp. at 779, 783. The process claimed in the ’759 Patent performs similar
21   mental (or abstract) processes: (i) transmitting a probe signal, (ii) receiving response
22   signals containing bit-loading modulation schemes; (iii) comparing the signals; and (iv)
23   determining a common bit-loading modulation scheme. That these steps are carried out
24   at generic transmitting and receiving nodes does not make them less abstract. See DISH
25   Order at 9 (recognizing that “patents that are directed to transmitting and receiving
26   information generally fail Alice Step One” and finding claims directed to transmitting
27   probe signals and receiving response signals patent ineligible).
28         Further, the claim elements here recite “entirely functional” language, confirming

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 1   their abstract nature. Affinity Labs., 838 F.3d at 1258. As this Court has recognized,
 2   “[c]laims directed to a function, instead of ‘a particular way of performing that
 3   function,’ are abstract.” DISH Order at 15 (citation omitted). The claims here are each
 4   directed to the function of “comparing” bit-loading modulation schemes and
 5   “determining” a common one, without describing how the schemes are compared or
 6   how that determination is made. See also Realtime Data, LLC v. Array Networks Inc.,
 7   Nos. 2021-2251, 2021-2291, 2023 WL 4924814, at *8-*9 (Fed. Cir. Aug. 2, 2023)
 8   (finding claims that “fail[] to recite how the data is to be analyzed or compressed” to be
 9   abstract) (emphasis added). The claims reveal nothing about how a common bit-loading
10   modulation scheme is determined, or how the received bit-loading modulation schemes
11   are “compared” to do so. The focus of the claims is thus on analyzing and comparing
12   data and determining a common bit-loading modulation scheme.
13                3.       Alice Step 2: ’759 Patent Claims Lack an Inventive Concept
14         The claims lack an inventive concept that renders them “significantly more” than
15   a claim on comparing bit-loading modulation schemes to determine a common one.
16   The claims seek only to apply that abstract idea to generic computer components such
17   as “transmitting nodes,” “receiving nodes,” and a “non-transitory computer-readable
18   medium.” See, e.g., ’759 Patent, cls. 2, 4. As the ’759 Patent describes, “nodes” are
19   merely generic “terminals” in a building that may be connected to equipment such as
20   converter boxes, TVs, cable modems, and video game consoles. ’759 Patent, 1:55-61.
21   The use of these conventional components does not transform the claims. See Elec.
22   Commc’n Techs. 958 F.3d at 1183 (Fed. Cir. 2020) (use of conventional components
23   does not provide an inventive concept); Ultramercial, Inc. v. Hulu, LLC, 772 F.3d 709,
24   716 (Fed. Cir. 2014) (finding claims patent ineligible where they were “not tied to any
25   particular novel machine or apparatus, only a general purpose computer”).
26         Entropic alleges inventiveness in the abstract ideas of “send[ing] data to, and
27   receiv[ing] data from, other nodes on th[e] network,” and “communicat[ing] . . . through
28   the use of broadcast transmissions.” Dkt. 135, ¶¶ 94, 97. But an abstract idea “cannot

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 1   supply the inventive concept that renders the invention ‘significantly more’ than that
 2   ineligible concept.” BSG Tech., 899 F.3d 1281, 1290 (Fed. Cir. 2018). Moreover,
 3   Entropic’s allegations are conclusory (Dkt. 135, ¶¶ 92, 94-98), and a court “need not
 4   ‘accept as true allegations that contradict matters properly subject to judicial notice or
 5   by exhibit,’ such as the claims and the patent specification.” Secured Mail Sols., LLC v.
 6   Universal Wilde, Inc., 873 F.3d 905, 913 (Fed. Cir. 2017) (citations omitted); see also
 7   Sanderling Mgmt., 65 F.4th at 706.
 8         Each element of representative claim 2 is directed to a well-known, routine, or
 9   conventional function performed by any generic communication equipment, or is
10   directed to an abstract idea itself. For example, determining transmission characteristics
11   of a channel path, such as BER, PER, and SNR, was routine. Compare Dkt. 135, ¶ 96
12   with ’759 Patent, 11:5-14 (“It is appreciate[d] by those skilled in the art that the
13   transmission characteristics of the channel path may be determined by measuring the
14   metric values of the channel path” such as SNR, BER, and PER). Similarly, bit loading
15   was well-known (and Entropic does not allege otherwise). ’518 Patent, 4:57-62, 8:9-26
16   (incorporating a patent “disclos[ing] discrete multi-tone [or OFDM] modulation and a
17   technique for bit loading”). And, as this Court already found, use of probes alone is
18   insufficient to transform an abstract idea to patent-eligible subject matter. DISH Order
19   at 11-12.
20         Claim 2 thus recites a generic process for comparing bit-loading modulation
21   schemes and determining a common one without any novel requirement on the type of
22   components are used. After removing these conventional and well-known elements,
23   what remains in claim 2 is merely the functional objectives of the claims, e.g.,
24   “comparing” bit-loading modulation schemes and “determining” a common one.
25   Accordingly, the claims of the ’759 Patent lack an inventive concept.
26         C.     The ’518 Patent Claims of Count I Are Patent Ineligible
27         Like the ’759 Patent, the claims of the ’518 Patent relate to selecting a bit loading
28   scheme using conventional components in conventional ways. The claims are thus

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 1   patent ineligible.
 2                1.       ’518 Patent’s Bit Loading Determination
 3         Problem and Purported Solution. The ’518 Patent is directed to a solution for
 4   selecting a bit loading scheme. The ’518 Patent does not claim a system that alters how
 5   signals are transmitted in a coaxial cable communication network, propose a new bit
 6   loading scheme, or propose a new mechanism for applying bit loading to a network.
 7   Instead, the ’518 Patent describes how to select a bit loading scheme in a conventional
 8   coaxial cable network.
 9         For example, the ’518 Patent describes use of orthogonal frequency division
10   multiplexing (OFDM) in a network. Dkt. 1-1, ’518 Patent, 7:25-31, 7:49-51. OFDM,
11   which the ’518 Patent also refers to as “multi-tone modulation” or “discrete multi-tone
12   (DMT),” is a well-known, prior art technique that distributes data bits over many
13   carriers or subchannels. Id.; see also id., 3:37-40, 3:56-61, 4:12-18 (incorporating by
14   reference patents directed to OFDM). The ’518 Patent also describes the use of prior
15   art bit loading schemes with OFDM. See id., Abstract. As described with respect to
16   the ’759 Patent, bit loading is also a well-known, conventional technique. Id., 4:57-62,
17   8:9-15; see also id., 8:19-23 (incorporating a patent “disclos[ing] discrete multi-tone [or
18   OFDM] modulation and a technique for bit loading); 8:23-26 (same).
19         The ’518 Patent’s alleged improvement is to use and analyze probe messages to
20   determine channel characteristics and select a bit loading scheme. Id., 4:57-62, 9:36-
21   47. A probe message is a “predetermined bit sequence which i[s] known by the
22   receiving device,” and from which the receiving device can infer channel
23   characteristics, such as SNR and multipath. Id. The receiving device uses the channel
24   characteristics to select a bit loading scheme. Id. Again, the focus of the ’518 Patent is
25   on the determination of a scheme, not the application of the scheme.
26         Claim 1 is representative. Claim 1 of the ’518 Patent, which is the only asserted
27   claim, recites conventional cable network equipment that implements the functions of
28   (i) transmitting probe messages, (ii) receiving and analyzing probe messages to

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 1   determine channel characteristics, and (iii) determining a bit loading profile.
 2         For example, claim 1 recites:
 3         1.     A data communication network comprising:
 4
           at least two network devices, each network device comprising a multi-carrier
 5         modulator for modulating data, an up converter for translating the modulated data
           to an RF carrier frequency, a down converter for translating an RF signal, and a
 6
           multi-carrier demodulator for demodulating the translated RF signal to produce
 7         data; and
 8         cable wiring comprising a splitter with a common port and a plurality of tap ports,
 9         and a plurality of segments of coaxial cable connecting between the splitter tap
           ports and the network devices;
10
           whereby network devices communicate with each other through the cable wiring
11
           using multi-carrier signaling;
12
           wherein network devices transmit probe messages through the cable wiring and
13         analyze received probe message signals to determine channel characteristics and
14         bit loading is selected based on the determined channel characteristics.

15                2.       The ’518 Patent Claims Are Directed to an Abstract Idea
16         The focus of the ’518 Patent is similar to that of the ’759 Patent. Like the ’759
17   Patent, at its core, the claims of the ’518 Patent are directed to the abstract concepts of
18   (i) transmitting and analyzing information, and (ii) determining a bit loading scheme.
19         As described earlier, this Court has recognized that “patents that are directed to
20   transmitting and receiving information generally fail Alice Step One.” DISH Order at
21   9. Indeed, “the Federal Circuit has generally found claims abstract where they are
22   directed to some combination of acquiring information, analyzing information, and/or
23   displaying the results of that analysis.” Orcinus Holdings, LLC v. Synchronoss Techs.,
24   Inc., 379 F. Supp. 3d 857, 868 (N.D. Cal. 2019), aff’d sub nom. Dropbox, 815 F. App’x.
25   at 537 (collecting cases). Like the claims directed to “transmitting and receiving
26   information for the purpose of admitting a node to a CCN” that this Court invalidated
27   in the DISH Order, the ’518 Patent’s transmission and receipt of a probe packet to
28   “determine channel characteristics” amounts to nothing more than the oft-rejected

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 1   abstract concepts of transmitting and analyzing information. See ’518 Patent, 4:57-59;
 2   Affinity Labs, 838 F.3d at 1261 (invalidating claims directed to “the conveyance and
 3   manipulation of information”).
 4         To the extent that Entropic points to bit loading as inventive, Two-Way Media is
 5   instructive. In that case, the claimed communications network comprised, in relevant
 6   part, the steps of (1) “converting a plurality of streams of audio and/or visual
 7   information into a plurality of streams of addressed digital packets;” and (2) routing
 8   each stream to one or more users, where the routing is controlled “in response to
 9   selection signals received from the users.” Two-Way Media Ltd. v. Comcast Cable
10   Comm’ns, LLC, 874 F.3d 1329, 1334 (Fed. Cir. 2017). In bit loading, bits are similarly
11   “routed” or allocated to one or more channels, where the routing is controlled in
12   response to “the determined channel characteristics.” ’518 Patent, 4:48-62; see also
13   Magnacross LLC v. OKI Data Ams., Inc., No. 3:20-cv-01959-M, 2022 WL 992595, at
14   *2, *5 (N.D. Tex. Mar. 31, 2022) (determining that a claim reciting a method of wireless
15   data transmission involving “allocating data from sensors into [] sub-channels in
16   accordance with the data rate for the sensors and the data carrying capacities of the
17   subchannels” was directed to the abstract idea of “processing and transmitting data”).
18   The claim here is even weaker than Two-Way Media because it does not actually require
19   the selected bit loading scheme be employed in the network.
20         Claim 1 of the ’518 Patent also does not have the specificity required to transform
21   it from one claiming a functional result. Instead of “identify[ing] how th[e] functional
22   result is achieved by limiting the claim scope to structures specified at some level of
23   concreteness . . . or to concrete action,” the claim merely states the functional results of
24   “analyz[ing]”    probe    messages, “determin[ing]”         channel     characteristics,   and
25   “select[ing]” bit loading without more. See Realtime Data, 2023 WL 4924814, at *8
26   (citations omitted). None of the claims of the ’518 Patent specify any particular
27   technique for analyzing the probe messages, determining channel characteristics (nor
28   do they specify which ones), or selecting bit loading. See id., at *8-9 (finding claims

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 1   that “fail[] to receive how the data is to be analyzed or compressed” to be abstract).
 2                3.       The ’518 Patent Claims Lack an Inventive Concept
 3         Because the ’518 Patent’s claims are directed to the abstract idea of transmitting
 4   and analyzing signals to select a bit allocation, the claims must add an “inventive
 5   concept” that ensures the patent amounts to significantly more than a patent on the
 6   ineligible idea itself. Alice, 573 U.S. at 222. The ’518 Patent claims nothing more than
 7   conventional activities performed on known conventional network equipment, as
 8   explained by the specification and prior art incorporated into the patent itself.
 9         Claim 1 recites a “data communication network” that comprises generic “network
10   devices,” a “multi-carrier modulator,” an “up converter,” a “down converter,” a “multi-
11   carrier demodulator,” and “cable wiring” comprising a “splitter with a common port
12   and plurality of tap ports.” ’518 Patent, 12:8-19. These well-known, conventional
13   structures are illustrated in Figure 1 of the ’518 Patent, which is admitted prior art:
14         • Coaxial cable data networks were disclosed in the prior art. See, e.g., Frist
15             Decl., Ex. 2 (U.S. Patent No. 6,091,932 (“Langlais”)), 1:9:16; ’518 Patent,
16             3:37-40, 3:56-61 (incorporating Langlais by reference).
17         • Network devices with multi-carrier modulators, up converters, down
18             converters, and multi-carrier demodulators were disclosed in the prior art.
19             See, e.g., Frist Decl., Ex. 2 (Langlais), Fig. 5, 9:9-14 (multi-carrier
20             modulator), 9:25-26 (up converter), 9:36-38 (down converter), 9:38-47
21             (multi-carrier demodulator); see also’518 Patent, 4:8-12 (“techniques for
22             implementing an OFDM modulator and demodulator”) (emphasis added).
23         • Network devices that “communicate with each other through the cable wiring
24             using multi-carrier signaling,” as required by claim 1, were well-known. See,
25             e.g., ’518 Patent, 8:19-26 (incorporating by reference U.S. Patent Nos.
26             6,438,174 (titled “Multi-carrier transmission system”) and 6,259,746 (titled
27             “Method for allocating data and power in a discrete multi-tone
28             communication system”).

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 1         • Cable wiring with splitters that had common ports and tap ports are described
 2            as “commonly used.” See ’518 Patent, 1:53-57.
 3         Entropic characterizes claim 1 as “enabling communication between devices that
 4   are connected to the tap (output) ports of a coaxial splitter” or “splitter jumping.” Dkt.
 5   135, ¶¶ 64, 67. However, “enabling communication between devices” is “nothing more
 6   than the abstract idea of communication over a network for interacting with a device,
 7   applied to the context of [conventional coaxial cabling].” ChargePoint, 920 F.3d at
 8   768; see also Alice, 573 U.S. at 222 (“[T]he prohibition against patenting abstract ideas
 9   cannot be circumvented by attempting to limit the use of [the idea] to a particular
10   technological environment”). There is no requirement in the claims that specifies how
11   communication between devices is enabled, how probe messages are transmitted or
12   analyzed, or how to determine channel characteristics or select a bit loading scheme.
13   DISH Order at 12 (“[w]ithout an explanation of the mechanism for how the result is
14   accomplished, this purported feature of the invention cannot supply an inventive
15   concept”) (quoting Intell. Ventures I LLC v. Erie Indem. Co., 850 F.3d 1315, 1331-32
16   (Fed. Cir. 2017)).
17         Entropic also cannot plausibly argue that the use of probe packets to determine
18   channel characteristics, or the selection of bit loading based on said characteristics,
19   supply the inventive concept. As the specification of the ’518 Patent admits,
20   “[d]etermination of a channel response, multipath, and SNR profile from a known signal
21   is well known in the art.” ’518 Patent, 10:10-14. A probe message is one such example
22   of a known signal: it uses “a predetermined bit sequence which i[s] known by the
23   receiving device.” Id., 9:37-41. And “[b]y passing a known data sequence through the
24   channel, the response of the channel can be determined, including multipath and SNR
25   profile.” Id. Selecting bit loading is also a technique well-known in the art. For
26   example, the specification incorporates by reference a patent “disclos[ing] discrete
27   multi-tone [or OFDM] modulation and a technique for bit loading applied to point-to-
28   point twisted pair wirings.” Id., 8:19-23, 8:23-26.

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 1         To the extent that Entropic argues that “transmit[ting] probe messages” and
 2   “analyz[ing] received probe message signals” to select bit loading supply the inventive
 3   concept, this Court has rejected similar arguments directed to similar claims.
 4   Specifically, in the DISH Order, the Court rejected Entropic’s argument that “prob[ing]
 5   a communication link” and “adapt[ing] transmission parameters for the communication
 6   link” contained an inventive feature that would have transformed the abstract idea of
 7   “transmitting and receiving information” into patent-eligible subject matter. DISH
 8   Order at 9, 12. The same analysis applies here.
 9         D.     The ’539 Patent Claims of Count VII Are Patent Ineligible
10         The claims of the ’539 Patent are directed to the abstract idea of transmitting
11   information and measuring and adjusting parameters and do not contain an inventive
12   concept “sufficient to ensure that the patent in practice amounts to significantly more
13   than a patent upon the ineligible concept itself.”              Alice, 573 U.S. at 225-26.
14   Accordingly, the claims recite patent ineligible subject matter under § 101.
15                1.       ’539 Patent’s MAC Layer Adaption of Parameters
16         Problem and Purported Solution. The ’539 Patent, entitled “Physical layer
17   transmitter for use in a broadband local area network,” purports to address a need for a
18   system that can connect multiple pieces of customer premise equipment (“CPEs”) while
19   utilizing existing coaxial cables within a building. ’539 Patent, 3:15-17, 4:26-33. The
20   ’539 Patent’s alleged solution is “[a] physical layer transmitter that communicates
21   between nodes in a broadband cable network by transmitting and receiving packets
22   containing data and control information.” Id., Abstract. The ’539 Patent also explains
23   that the physical transmitter is “[a] transmitter (“PHY transmitter”) for communicating
24   between a plurality of nodes in a multi-media network communication system
25   (‘MCNS’) utilizing a broadband cable network (‘BCN’) operating at the physical layer
26   (layer 1) within the ISO/OSI Network Model (or the Link layer of the TCP/IP Network
27   Model) . . . .” Id., 4:37-42.
28         While the title of the ’539 Patent references the “physical layer” and the

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 1   specification describes a transmitter “operating at the physical layer (layer 1) within the
 2   ISO/OSI Network Model,” the claims are directed to the MAC layer (layer 2). As
 3   background, the ISO/OSI Network Model is a well-known model that was developed
 4   by the International Organization for Standards (ISO) for describing or abstracting the
 5   separation of functions in a network. Frist Decl., Ex. 3 (U.S. Patent No. 6,085,248
 6   (“Sambamurthy”)), 1:59-66, FIG. 1A.6
 7         Importantly, the ’539 Patent does not describe any specific hardware or software
 8   required to implement the MAC layer. This disclosure is absent because the MAC layer
 9   is merely an abstraction for describing a set of functions within part of a communication
10   network architecture. ’539 Patent, 8:35-49; FIG. 4. The ’539 Patent provides examples
11   of the types of functions that could be performed by the MAC layer (e.g., controlling
12   network resources or encryption key handling), but it notes that the MAC layer could
13   include “other functions related to the management, communications, control and status
14   of communications.” Id. The ’539 Patent, however, fails to describe how to carry out
15   those functions, and it does not purport to define specific hardware or software
16   necessary to implement these functions in the MAC layer. Instead, the MAC layer is a
17   reference to any software or hardware for performing functions typically associated
18   with that layer 2 in the OSI model.
19         Claim 1 of the ’539 Patent is representative. Entropic asserts claims 1-7 of the
20   ’539 Patent. Claim 1, the only independent claim, describes the MAC layer functionality
21   that is relevant to the alleged invention:
22
           1.   A modem for communication to at least one node across at least one
23         channel of a coaxial network, the modem comprising:
24                a transmitter; and
25

26
     6
       Sambamurthy was cited during the prosecution of the ’539 Patent, and is part of the
27   file history. Frist Decl., Ex. 4 (Excerpts from the ’539 Patent File History) at 7. As a
     public record, it is appropriate for the Court to consider this evidence. Trinity Info
28
     Media, LLC v. Covalent, Inc., 562 F. Supp. 3d 770, 786 n.86 (C.D. Cal. 2021)
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 1                  a MAC layer in signal communication with the transmitter, the MAC layer
 2                  using at least one probe packet as an echo profile probe to measure node
                    delay spread on the network and the MAC layer optimizing the preamble
 3                  and cyclic prefix requirements or other parameters in response to the
 4                  measured node delay spread on the network;
 5                  wherein the transmitter communicates the at least one [probe]7 packet.
 6   Here, it is notable that the broad list of functions identified in the specification is not
 7   claimed. See, e.g., ’539 Patent, 8:35-49. The only claimed requirements of the MAC
 8   layer are three functions: (i) communicating with the transmitter; (ii) using at least one
 9   probe packet as an echo profile probe to measure node delay spread on the network; and
10   (iii) optimizing the preamble and cyclic prefix requirements or other parameters in
11   response to the measured node delay spread. In other words, the claims are directed to
12   measuring delay spread using a probe packet and optimizing parameters based on the
13   measurement. The claims do not require any specific hardware or any specific method
14   for measuring delay spread or optimizing the parameters.                   Only the concept of
15   measuring and optimizing is required.
16            The dependent claims do not alter the focus of the claims. For example,
17   dependent claims 2, 4, 5, and 7 provide additional limitations regarding the content of
18   the payload within the probe packet. The claims do not specify how the MAC layer
19   measures node delay spread or optimizes any parameters. Similarly, dependent claims
20   3 and 6 add additional requirements regarding how the payload in the probe packet is
21   transmitted (e.g., using conventional techniques like BPSK modulation), but do not
22   specify any specialized hardware or components of the transmitter or add to the
23   functionality of the MAC layer, which is the focus of the claims. Thus, none of the
24   dependent claims alter the overall focus of the claims nor add any limitations that would
25   alter the ineligibility analysis.
26                  2.       Alice Step 1: Focus of ’539 Patent Claims Is an Abstract Idea
27

28   7
         “transmit” was changed to “probe” in a certificate of correction.
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 1         The claims of the ’539 Patent fail the first step of the Alice inquiry because the
 2   focus of the claims and their character as a whole is directed to the abstract concept of
 3   transmitting information and measuring and adjusting parameters. See SAP, 898 F.3d
 4   at 1167.
 5         As this Court stated, “patents that are directed to transmitting and receiving
 6   information generally fail.” DISH Order at 9; see also Maxell, 2023 WL 3431898, at
 7   *7 (“It is well established that transmitting and receiving data is an abstract idea.”); see
 8   also Dropbox, 815 F. App’x at 537 (finding claims directed to “‘[f]ormatting’ data,
 9   ‘transmitting’ data, and ‘retrieving’ data” abstract); Affinity Labs, 838 F.3d at 1261
10   (finding claims directed to “the conveyance and manipulation of information” abstract).
11         Additionally, courts have repeatedly invalidated claims directed to the abstract
12   idea of measuring parameters and then adjusting other parameters based on those
13   measurements. For example, in Elec. Power Grp., the Federal Circuit determined that
14   a claim reciting “receiving” data, “detecting and analyzing” events from that data based
15   on a number of parameters, “displaying” the analysis results and measurements,
16   “accumulating and updating” the measurements from the data, and finally “deriving” a
17   composite indicator of reliability based on the measurements was directed to an abstract
18   idea. 830 F.3d at 1353-54 (further collecting cases demonstrating that collecting and
19   analyzing data both fall within the abstract idea category); see also OIP Techs., Inc. v.
20   Amazon.com, Inc., 788 F.3d 1359, 1361-62 (Fed. Cir. 2015) (invalidating claims
21   directed to abstract idea of price optimization that involved: (1) testing prices by sending
22   messages over a network to devices; (2) gathering information about customer reactions
23   to the prices; (3) using that data to estimate outcomes; and (4) selecting a new price
24   based on the estimated outcome).
25         Here, the ’539 Patent’s use of a probe packet to gather information about the node
26   delay spread to optimize the preamble, cyclic prefix requirements, or other parameters
27   amounts to nothing more than collecting information and analyzing it with a
28   mathematical algorithm, which are “essentially mental processes within the abstract

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 1   idea category.” Elec. Power Grp., 830 F.3d at 1354. The claim elements here “lack[]
 2   specificity and amount[] to generalized steps using generic computer functionality,”
 3   which confirms they are directed to an abstract idea. Smart Authentication IP, LLC v.
 4   Elec. Arts Inc., 402 F. Supp. 3d 842, 852 (N.D. Cal. 2019).
 5                3.       Alice Step 2: ’539 Patent Claims Lack an Inventive Concept
 6         The ’539 Patent claims do not recite any inventive concept as they are directed
 7   to an abstract process accomplished with generic computer equipment. For example,
 8   the ’539 Patent describes “modems” and “nodes” in the context of prior art systems.
 9   ’539 Patent, 1:36-42 (stating that splitters in a known broadband cable network
10   “distribute downstream signals from the point of entry to various terminals (also known
11   as ‘nodes’) in the building,” and that “[t]he nodes may be connected to various types of
12   Customer Premise Equipment (‘CPEs’) such as cable converter boxes, televisions,
13   video monitors, cable modems, cable phones and video game consoles.”); id., 2:47-51
14   (noting that “Node Devices may be comprised of numerous well known STB units such
15   as cable television set-top boxes and/or satellite television set-top boxes, as well as
16   various video and multimedia devices typically found in the home or office”). The
17   claimed transmitter is well-known, conventional communications equipment. See
18   Fitbit Inc. v. AliphCom, No. 16-cv-00118-BLF, 2017 WL 819235, at *13 (N.D. Cal.
19   March 2, 2017) (“A transmitter is a generic component, and [the claim] recites nothing
20   more than using it in a conventional way (i.e., wirelessly transmitting data).”).
21         Further, this generic equipment is used for generic, conventional functions: (1)
22   transmitting information (i.e., a probe packet); (2) using that information to measure a
23   parameter (i.e., node delay spread), and (3) adjusting other parameters in response to
24   the measurement (i.e., preamble or cyclic prefix requirements or other parameters). See
25   ’539 Patent, cl. 1. Contrary to Entropic’s conclusory statement that these limitations
26   are “specific” (Dkt. 135 at ¶¶ 128-130), there are no details about how the MAC layer
27   uses a probe packet to measure delay spread, or how the parameters are adjusted (or
28   even what the parameters are, for that matter). ’539 Patent, 9:53-65 (describing an echo

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 1   profile probe “whose purpose is to measure node delay spread in order to optimize”
 2   parameters without explaining how the underlying functionality is performed).
 3   Entropic’s attempts to shift the Court’s focus from the claims by pointing to allegations
 4   that “modems on a conventional coaxial network at the time of the ’539 Patent did not
 5   communicate with another, and thus did not have a means for measuring the delay on
 6   the network or optimizing parameters based on that measurement” fails. Dkt. 135 at
 7   ¶ 127; see also id. at ¶¶ 131-132. The claims, however, does not require communication
 8   between nodes as it only requires transmission by one node in a network. Moreover,
 9   such a high level of generality is insufficient to supply an inventive concept.
10   Ultramercial, 772 F.3d at 716. The ’539 Patent is also silent as to how the invention
11   supposedly accomplishes node-to-node communication, and this omission is fatal.
12   Intell. Ventures I, 850 F.3d at 1331 (“Nowhere do the claims recite elements or
13   components that describe how the invention overcomes these compatibility issues.”)
14         Moreover, the “probe” and “optimizing” claim elements are analogous to those
15   in the ’7566 Patent, which was invalidated by this Court. See DISH Order at 12. With
16   respect to the ’7566 Patent, the Court found that the steps of “probe a communication
17   link” and “adapt transmission parameters” did not supply an inventive concept because
18   the steps could be implemented using generic components, and Entropic failed to show
19   that steps were unconventional. The claim elements here similarly use a probe to
20   measure node delay spread and use the result to adjust parameters, and the ’539 Patent
21   does not indicate that the probe or measurement use anything unconventional.
22         To the extent Entropic argues that the claims’ use of the MAC layer is inventive,
23   the argument necessarily fails. As described earlier, while the ’539 Patent provides
24   examples of the types of functions that could be performed by the MAC layer, the ’539
25   Patent fails to describe how to carry out those functions, and it does not define specific
26   hardware or software necessary to implement these functions in the MAC layer.
27   Instead, the MAC layer is a reference to any software or hardware for performing
28   functions typically associated with layer 2 in the OSI model. And, importantly, the

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 1   claims do not describe how the MAC layer uses an echo profile probe to measure node
 2   delay spread. See ’539 Patent, 9:62-65, 10:30-37. Nor do the claims or the specification
 3   explain how the MAC layer optimizes the preamble, cyclic prefix requirements, or other
 4   parameters based on the node delay spread measurement. See Two-Way Media, 874
 5   F.3d at 1339; Affinity Labs, 883 F.3d at 1258-59. There is also no limitation on what
 6   those “other parameters” may be, or how they relate to the supporting communication
 7   between devices in existing coaxial cable systems. Hawk Tech. Sys., LLC v. Castle
 8   Retail, LLC, 60 F.4th 1349, 1357 (Fed. Cir. 2023) (finding claims abstract where neither
 9   the claims nor specification explained “what th[e] [claimed] parameters are or how they
10   should be manipulated”) (citation omitted).
11         Because the claims describe the MAC layer only in abstract terms and never fill
12   in the blanks about how the MAC layer functions are to be accomplished in software or
13   hardware, the claims fail to impart “any specific components, specific operations, or a
14   specific arrangement of components or operations” and are directed to an abstract idea.
15   See DISH Order at 10; see also Apple, Inc. v. Ameranth, Inc., 842 F.3d 1229, 1241 (Fed.
16   Cir. 2016). Entropic’s Amended Complaint does nothing to fill these gaps; it summarily
17   alleges that the MAC layer elements “recite a technological capability that was not
18   routine or conventional in existing on-premises coaxial networks” and refers back to
19   the general history of coaxial networks. Dkt. 135 at ¶¶ 133-134. This is not sufficient.
20   See Sanderling Mgmt. v. Snap Inc., 65 F.4th 698, 706 (Fed. Cir. 2023) (declining to
21   give credit to “conclusory statements that the claimed steps were not well-known,
22   routine, and conventional”).     Limiting the invention to a particular technological
23   environment (i.e., coaxial networks) does not render the claims any less abstract.
24   Affinity Labs, 838 F.3d at 1258-59.
25         The dependent claims also do not add an inventive concept. As described above,
26   the dependent claims do not specify how the MAC layer measures node delay spread
27   or optimizes any specific parameters. Nor do any the dependent claims alter the
28   functionality of the MAC layer or require any specialized hardware or components. The

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 1   requirements of the dependent claims thus fail to impart an inventive concept.
 2         E.     The ’802 Patent Claims of Count IV Are Patent Ineligible
 3         The claims of the ’802 Patent also fail under the Alice framework. The claims
 4   are directed to the abstract idea of transmitting messages containing specified
 5   information and do not contain any additional limitations sufficient to impart an
 6   inventive concept.
 7                1.       ’802 Patent’s Predefined Beacon and Data/Control Messages
 8         Problem and Purported Solution. The ’802 Patent is titled “Multimedia Over
 9   Coaxial Cable Access Protocol” and purports to address the need for “coordinating
10   network resources, access to [a] network, and to optimize the communication” between
11   multiple pieces of customer premise equipment (“CPEs”) in a Broadband Coaxial
12   Network (“BCN”). ’802 Patent, 3:60-4:3. The ’802 Patent’s proposed solution is to
13   allow the CPEs, which are equipped with modems for communicating via the BCN, to
14   “communicate using predefined messages to establish, optimize and facilitate data
15   communication.” Id., Abstract. The ’802 Patent explains that “[e]ach BCN modem
16   communicates with the other BCN modems in the network and establishes the best
17   modulation and other transmission parameters that is optimized and periodically
18   adapted to the channel between each pair of BCN modem.” Id., 4:20-24.
19         The ’802 Patent does not, however, describe that the BCN modems include any
20   specific hardware or components. Instead, the BCN can be implemented using generic
21   components that were conventional at the time of filing. The BCN modem thus can be
22   any type of node, including existing devices such as “cable converter boxes, televisions,
23   video monitors, cable modems, cable phones, audio video receivers, set-top boxes
24   (STBs) and video game consoles.” Id., 1:34-38.
25         With respect to the “predefined messages” to be communicated by the BCN, the
26   ’802 Patent suggests using pre-existing packet types. One example is a beacon packet,
27   which is described as one of the “most prevalent packet types” in a BCN. Id., 9:31-51.
28   The beacon packet can be used to “identif[y] network timing and essential network

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 1   control information.” Id., 25:13-21, 24:38-49. Another example of a predefined
 2   message type is the data transport packet, which can be used to “transfer data between
 3   nodes in the BCN network 310,” among other functions. Id., 10:7-12, 25:21-24.
 4         Claim 3 of the ’802 Patent is representative. The ’802 Patent recites four
 5   claims, all of which are independent. Entropic asserts only claim 3 (shown below), but
 6   each claim of the ’802 Patent recites similar limitations and claims the same abstract
 7   idea of transmitting (or receiving) information:
 8
           3. A method for transmitting packets from a Broadband Cable Network (BCN)
 9         modem to a plurality of nodes in a broadband cable network, the method
           comprising:
10

11         formatting the packets in a MAC subsystem that transmits the packets within the
           broadband cable network, including formatting a data and control packet for
12         transmission within the broadband cable network,
13
                  the data and control packet having a header and a variable length payload,
14                the header having at least five fields selected from the group consisting of
                  a transmit clock field, packet type field, packet subtype field, version field,
15
                  source node ID field, destination node ID field, and header check sequence
16                field;
17         receiving the packets from the MAC subsystem at a Modem subsystem that is in
18         signal communication with the MAC subsystem and that appends information to
           the packets; and
19
           upconverting the packets with the information for transmission via the broadband
20
           cable network at a RF subsystem that is in signal communication with the Modem
21         subsystem;
22                wherein at least one of the packets is a beacon packet that has a channel
23                number field, change field, sequence number field, network coordinator
                  ID field, next beacon index field, admission frame length field, admission
24                window, asynchronous MAP length field and a beacon Cyclic Redundancy
25                Checking (CRC) field.
26   (emphasis added).
27         Claim 3 requires three subsystems: (i) a MAC subsystem, (ii) Modem Subsystem,
28   and (iii) RF subsystem. The claim, however, does not provide any specific requirements

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 1   about the functionality or hardware required for these subsystems. Instead, the focus is
 2   on adding a communication protocol between these known subsystems. Specifically,
 3   the claim is directed to the following process of transmitting packets between
 4   subsystems: (1) formatting packets to contain specific fields of information; (2)
 5   appending “information” to the packets; (3) converting the packets into a different
 6   signal format; and (4) transmitting and receiving the packets. The specific packets
 7   required by the claim are a beacon packet and data and control packet, which are
 8   described as including certain information fields (italicized above).
 9                2.       Alice Step 1: Focus of ’802 Claims Is an Abstract Idea
10         The focus of these claims is nothing more than the abstract idea of transmitting
11   messages containing the claimed fields of information.
12         As described above with respect to the ’759 and ’518 Patents, courts have
13   routinely invalidated claims directed to similar abstract information transmission
14   processes. For example, per this Court, “patents that are directed to transmitting and
15   receiving information generally fail.” DISH Order at 9; see also Dropbox, 815 F. App’x
16   at 537 (finding claims directed to “‘[f]ormatting’ data, ‘tagging’ data, ‘transmitting’
17   data, and ‘retrieving’ data” abstract); Affinity Labs, 838 F.3d at 1261 (Fed. Cir. 2016)
18   (finding claims directed to “the conveyance and manipulation of information” abstract).
19         The claimed requirement that the packets include specific information does not
20   salvage the claim. In Chamberlain Grp. v. Techtronic Indus. Co., the Federal Circuit
21   held that a claim for, in relevant part, the wireless transmission of a “status condition
22   signal that: corresponds to a present operational status condition . . . and comprises an
23   identifier” unique to the device was directed to the abstract idea of “wirelessly
24   communicating status information about a system.” 935 F.3d 1341, 1348 (Fed. Cir.
25   2019). Similarly, in Bridge & Post, the Federal Circuit found claims for generating an
26   alphanumeric string containing “the local user identifier, instance information, and
27   geographic location and demographic information,” and “embedding that alphanumeric
28   string in an extensible field of a packet” such as a portion of the “HTTP header field of

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 1   the packet” to be patent ineligible and directed to the abstract idea of “communicating
 2   information using a personalized marking.” Bridge & Post v. Verizon Commc’ns, Inc.,
 3   778 F. App’x 882, 890 (Fed. Cir. 2019).
 4         Like the invalidated claims in Chamberlain and Bridge & Post, the claims at
 5   issue here are directed to no more than the abstract idea of communicating specific
 6   information, akin to network status information. For example, the beacon packets may
 7   “identif[y] network timing and essential network control information including network
 8   admission area, and other information identifying the time location and characteristics
 9   of other important and valid information.” ’802 Patent, 25:13-21. That the claims of the
10   ’802 Patent require beacon packet information to include a “channel number field,
11   change field, sequence number field,” etc., and for data/control packet information to
12   include a “header and a variable length payload, the header having at least five fields”
13   from an enumerated list, does not transform the focus of the claims into more than the
14   mere transmission of a predetermined list of “status information” fields.
15         Moreover, “look[ing] to whether the claims in the patent focus on a specific
16   means or method, or are instead directed to a result or effect that itself is the abstract
17   idea and merely invokes generic processes and machinery” confirms that the claims are
18   directed to an abstract idea. Two-Way Media, 874 F.3d at 1337. The ’802 Patent
19   similarly recites a method for transmitting information using result-based functional
20   language such as “formatting,” “receiving,” and “upconverting the packets,” without
21   specifying how these results are achieved. See id. (“The claim requires the functional
22   results of ‘converting,’ ‘routing,’ ‘controlling,’ ‘monitoring,’ and ‘accumulating
23   records,’ but does not sufficiently describe how to achieve these results in a non-abstract
24   way.”); see also Dropbox, 815 F. App’x. at 529 (“‘Formatting’ data, ‘tagging’ data,
25   ‘transmitting’ data, and ‘retrieving’ data are generalized steps to be performed on a
26   computer using conventional computer activity.”).
27         That the claims are performed in the BCN context does not move the needle.
28   “[M]erely limiting the field of use of the abstract idea to a particular existing

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 1   technological environment”—here, coaxial cable networks—does not “render the
 2   claims any less abstract.” Affinity Labs, 838 F.3d at 1258-59. “Just as performance of
 3   an abstract idea on the Internet is abstract, so too the performance of an abstract concept
 4   in the environment of the telephone network is abstract.” Intell. Ventures I LLC v.
 5   Symantec Corp., 838 F.3d 1307, 1320 (Fed. Cir. 2016). The same can be said of
 6   transmitting information in a coaxial cable environment.
 7                3.       Alice Step 2: ’802 Claims Lack an Inventive Concept
 8         The ’802 Patent claims fail under Alice Step 2 because they “merely invoke[]
 9   well-understood, routine, conventional components and activity to apply the abstract
10   idea identified previously.” Elec. Commc’n Techs., 958 F.3d at 1183. The ’802 Patent
11   describes its purported invention as “[a] BCN network with BCN modems that
12   communicate using predefined messages,” including beacon packets and data/control
13   packets with specified information fields. ’802 Patent, Abstract (emphasis added).
14   However, the specification of the ’802 Patent makes clear that beacon packets and
15   control and data packets were well-known, and their use to store information was
16   conventional in the art. Indeed, the specification describes three “prevalent packet
17   types” conventionally used to transmit information: (1) a “robust packet,” which “may
18   be called a beacon;” (2) a probe packet for link optimization; and (3) a “data transport”
19   packet. Id., 9:31-36, 9:44-49, 9:52-54, 10:7-12. The purportedly inventive concept of
20   the ’802 Patent is merely specifying the particular fields that the packets must contain.
21   See Bridge & Post, 778 Fed. App’x. at 892 (“This limitation merely instructs the user
22   to store information in a known portion of the conventional header field . . . .”). Indeed,
23   Entropic alleges that “the type and formatting of [] communications packets” and
24   “unique data structures” is inventive. Dkt. 135, ¶¶ 101, 112. It is well-recognized,
25   however, that “[c]laim limitations directed to the content of information and lacking a
26   requisite functional relationship [to the medium] are not entitled to patentable weight,
27   because such information is not patent eligible subject matter.” Praxair Distribution,
28   Inc. v. Mallinckrodt Hosp. Prods. IP Ltd., 890 F.3d 1024, 1032 (Fed. Cir. 2018).

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 1         The claimed “modem subsystem,” “MAC subsystem,” and “RF subsystem” are
 2   also generic components. This is exemplified by the lack of any disclosure of the
 3   specific hardware or software necessary to implement those subsystems. And the
 4   functional statements regarding the modem, MAC, and RF subsystem all relate to
 5   known operations of a modem. For example, the specification describes a “BCN
 6   modem” as “a device that communicates across one or more of multiple RF channels
 7   where the communications over each RF channel by the various devices is divided by
 8   time.” ’802 Patent, 7:3-14. The medium access control (MAC) layer is described as
 9   one layer of “[a] multiple layer protocol model,” a well-known model used to describe
10   the abstract layers that computer systems use to communicate over a network. Id.,
11   24:38-43. And converting received signals into RF signals at an RF subsystem had long
12   been known. Id., 1:55-58, 6:34-44 (describing devices using the Wi-Fi, standard).
13         Although Entropic alleges inventiveness in “upconverting packets so that the
14   transmitted data is carried on RF frequencies higher than the range typically used by
15   cable TV” (Dkt. 135, ¶ 111), the frequency used is irrelevant—nothing in the claims of
16   the ’802 Patent requires a specific frequency. In addition, it was well-known that the
17   coaxial networks could be used for RF signals other than cable RF signals. ’802 Patent
18   at 2:30-36 (disclosing that the nodes could include cable television and/or satellite
19   television set top boxes). Accordingly, the claims of the ’802 Patent lack an inventive
20   concept and do not specify the precise functional or hardware requirements of the
21   subsystems. Instead, they acknowledge that these subsystems are conventionally used
22   in modems and merely propose an improvement to the type of information contained in
23   certain packets. The subsystems do not provide an inventive concept.
24         The prosecution history of the ’802 Patent further confirms that the subsystems
25   were not part of the inventive concept. During prosecution, the applicant could not
26   obtain a patent merely directed to a RF subsystem, Modem subsystem, and MAC
27   subsystem. See Frist Decl., Ex. 5 (Excerpts from the ’802 Patent File History) at 3-4
28   (rejecting claims as anticipated because a single prior art reference “disclose[d] the

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 1   BCN modem . . . a MAC subsystem . . . a Modem subsystem . . . and a RF subsystem”).
 2   It was only when the applicant amended the claims to require the apparatus to transmit
 3   both beacon packets and data/control packets containing specific data that the examiner
 4   allowed the claims. Id. at 18, 27-29.8
 5         F.     Joinder to the DISH and Cox Motions
 6         As described earlier, four of the patents asserted in this action have been
 7   previously challenged under § 101. First, this Court issued an Order in the DISH case
 8   invalidating the ’7566 and ’910 Patents under § 101. DISH Order. As the Court has
 9   issued final judgment in the DISH case, Entropic is estopped from asserting the ’7566
10   and ’910 Patents here. See Tse v. Apple, Inc., 2015 WL 11367929, at *2 (N.D. Cal. Apr.
11   14, 2015) (dismissing action with prejudice based on the estoppel effect of a prior
12   judgment of patent invalidity). DIRECTV joins and incorporates by reference the DISH
13   motion and related briefing and the DISH Order, and respectfully requests that the Court
14   dismiss Counts VI (the ’7566 Patent) and X (the ’910 Patent). See Dkt. 1, ¶¶ 390-424.
15         For U.S. Patent Nos. 9,838,213 (Count VIII) and 10,432,422 (Count IX),
16   DIRECTV joins and incorporates by reference the pending Cox motion and related
17   briefing arguing that these patents are invalid for claiming ineligible subject matter
18   under § 101. Entropic Commcn’s, LLC v. Cox Commcn’s, Inc., Case No. 2:23-cv-1047-
19   JWH-KES, Dkts. 64, 69 (C.D. Cal. June 16, 2023) (motion to dismiss U.S. Patent Nos.
20   9,838,213 and 10,432,422 under § 101). Accordingly, DIRECTV respectfully requests
21   that the Court dismiss Counts VIII and IX.
22   V.    CONCLUSION
23         For the foregoing reasons, DIRECTV respectfully requests that the Court find the
24   patents asserted in Counts I, III, IV, VI through X, and XII invalid under 35 U.S.C. §
25   101 and dismiss those Counts with prejudice.
26
     8
       DIRECTV requests that the Court take notice of the ’802 Patent prosecution history.
27   “[C]ourts regularly take judicial notice of public documents from the United States
     Patent and Trademark Office.” RJ Tech., LLC v. Apple, Inc., No. 8:22-cv-01874-JVS
28
     (JDEx), 2023 WL 3432237, at *2 (C.D. Cal. Mar. 23, 2023) (citation omitted).
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